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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division

  CENTRIPETAL NETWORKS, INC.,             )
                                          )
        Plaintiff,                        )
                                          )
  v.                                      )     Case No. 2:18cv00094-HCM-LRL
                                          )
  CISCO SYSTEMS, INC.                     )     FILED UNDER SEAL
                                          )
        Defendant.                        )


                       DEFENDANT CISCO SYSTEMS, INC.’S
                      MOTION FOR MISCELLANEOUS RELIEF




                      FILED UNDER SEAL
